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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (individual Adjustment of Debts)

 

 

 

 

[] Original Plan
L] Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
3rd Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Veima Wilmot JOINT DEBTOR: CASE NO.: 14-20861
SS#: Xxx-xx- 4338 SS#: XXX-Xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result ina

partial payment or no payment at all to the secured creditor [m] Included L] Not included

 

; TF - hase. rrr
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set ( Included Og Not included
out in Section III

 

 

 

 

Nonstandard provisions, set out in Section VIII [m] Included [-] Not included
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $1,912.67 formonths 1 to 51;

2. $2,390.73 for months 52 to 60 ;

B. DEBTOR(S)' ATTORNEY'S FEE: C] NONE [-] PRO BONO
Total Fees: $4775.00 Total Paid: $1769.00 Balance Due: $3006.00

Payable $58.94 /month (Months | to 51 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
Base $3,500.00+MTV $750+MTV $500+Cost $25.00.

 

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Il. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [i] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

B. VALUATION OF COLLATERAL: [] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED, A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1, REAL PROPERTY: [7] NONE

 

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1. Creditor; Federal National Mortgage
Association

Address: POB 1047
Hartford, CT 06143-1047

Last 4 Digits of Account No:: 2101

Real Property
[_]Principal Residence
[_]Other Real Property

Address of Collateral:
6109 Rodman Street, Hollywood, FL
33023

 

 

 

Value of Collateral:

Amount of Creditor's Lien:

Interest Rate:

525,00%

Check one below:

[wt] Escrow is included in the monthly
mortgage payment listed in this section
[_] The debtor(s) will pay

[_ ]taxes

$157,000.00
$214,208.00

[_ insurance directly

Payment

Total paid in plan: $100,787.37

$1,627.21 /month (Months 1 to Si)
$1,977.71 /month (Months 52 to 60)

 

 

2. VEHICLES(S): [mg] NONE
3. PERSONAL PROPERTY: [ij] NONE
C. LIEN AVOIDANCE ["] NONE

[im] Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that
they impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR

7004 and LR 3015-3.

 

1, Creditor: Amerifirst Home Improvement Finance
Co.

 

Address: 1171 Mill Valley Road
Omaha, NE 68154

 

Last 4 Digits of Account No.:

Collateral:

Exemption:

6224 Plunkett Street

Hollywood, FL 33023

Lot 18 and the West 22 feet of Lot 19, Block
18, Beverly Park, according to the Plat recorded
in Plat Book 25, Page(s) 44, as recorded in the
Public Records of Broward County, Florida

An order avoiding the lien on 6224 Plunkett St.,
Hollywood, Florida 33023 was entered in the
order approving sale,

An order avoiding the lien on 6224 Plunkett St.,
Hollywood, Florida 33023 was entered in the
order approving sale.

 

Homestead Exemption 11 U.S.C. §522(b),

 

 

2. Creditor: Independent Savings Plan

 

Address: 6420 Benjamin Road
Tampa, FL 33634-5199

 

Last 4 Digits of Account No.:

 

Collateral:

Exemption:

6224 Plunkett Street

Hollywood, FL 33023

Lot 18 and the West 22 feet of Lot 19, Block
18, Beverly Park, according to the Plat recorded
in Plat Book 25, Page(s) 44, as recorded in the
Public Records of Broward County, Florida

Homestead Exemption 11 U.S.C. §522(b).

 

 

 

distribution fom the Chapter 13 Trustee.
[|] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

[m] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim, The debtor(s)
request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

[_] Other:

 

Name of Creditor

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Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)

 

 
IV.

VI.

VIL

VIII.

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Debtor(s): Velma Wilmot Case number: 14-20861
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
i Wells Fargo Home Mortgage 3564 224 Plunkett Street

Hollywood, FL 33023
Lot 18 and the West 22 feet of Lot 19, Block 18, Beverly
Park, according to the Plat recorded in Plat Book 25, Page(s)
44, as recorded in the Public Records of Broward County,
Florida.
E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[1] NONE

[W) The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Camelot Holdings, LP N/A 110 Newton Road, West Park, Florida 33023.
Independent Savings Plan Co. N/A 224 Plunkett Street
2. Hollywood, FL 33023

Lot 18 and the West 22 feet of Lot 19, Block 18, Beverly
Park, according to the Plat recorded in Plat Book 25, Page(s)
44, as recorded in the Public Records of Broward County,
Florida.

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C, §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE; [lj] NONE
B. INTERNAL REVENUE SERVICE: [lj] NONE

C, DOMESTIC SUPPORT OBLIGATION(S): [la] NONE
D. OTHER: [m] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A, Pay $161.55 /month (Months 1 to 51 _)

Pay $195.68 /month (Months 52 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [J If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [i] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[a] NONE
INCOME TAX RETURNS AND REFUNDS: [ij] NONE

NON-STANDARD PLAN PROVISIONS [_] NONE
[m] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void,
1. Debtor will pay 100% of any recovery from the lawsuit filed to recover for property damage
on investment real property to unsecured creditors above and beyond the amount presently
provided for unsecured creditors in the plan to the extent there is any windfall.

2. The Court has entered an Order Granting Motion to Extend Mortgage Payments Beyond
Debtor’s Chapter 13 Plan for Non-Homestead Property located at 6109 Rodman Street,
Hollywood, Florida, The secured creditor has filed a Notice of Mortgage Payment Change to

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increase the escrow payments by $832.26 per month. Accordingly, the total due to creditor

through the plan based upon the escrow increase for the last 9 months of the plan is
$100,787.37.

[-] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

__ I devlare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
yi rho Debtor PY . 1

Joint Debtor
Velma Wilmot Date

Date

 

Attorney with permission to sign on Date
Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and

order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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